                       UNITED STATES DISTRICT COURT FOR THE                              轟覇證
                                                                                               害 1.c
                       恥″ESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION                                  MAR 1 8 2016
                                                                                   ul晦
                                                                                               絆
UNITED STATES OF AMERICA                           )

                                                   )      DOCKET NO.1:1611137
       V.                                          )

                                                   )      ORDER TO UNSEAL
PAUL RICHARD LUCAS                                 )




       THIS MATTER is before the Court on motion of the Government to unseal the file in the

captioned criminal matter.

       For good cause shown.

       lT lS, THEREFORE, ORDERED that the Govenrment's motion is ALLOWED and the

entire file in this criminal action is hereby UNSEALED.

       Thisthc l̀し ぃ    day of｀                ,2016.
                                    …




                                            UNITED STATES NIIAGISTRATE JUDGE




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